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                                      7 Attorneys for Defendants

                                      8
                                                                    UNITED STATES DISTRICT COURT
                                      9
                                                                   EASTERN DISTRICT OF CALIFORNIA
                                     10

                                     11 CHEN FANG, a California resident, and           Case No.: 2:24-cv-01618-DJC-DB
2029 Century Park East, Suite 1400




                                        YU LIN, a California resident, on behalf of
  Los Angeles, CA 90067-2915




                                     12 themselves and all others similarly situated,
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                                     13                                                 ORDER GRANTING UNOPPOSED
                                                          Plaintiffs,                   MOTION FOR ADMINISTRATIVE RELIEF
                                     14         v.                                      TO EXTEND PAGE LIMIT FOR
                                                                                        DEFENDANTS’ MOTION TO DISMISS
                                     15 CMB EXPORT INFRASTRUCTURE
                                        INVESTMENT GROUP 48, LP, a Delaware
                                     16
                                        limited partnership; CMB EXPORT LLC, a
                                     17 Texas limited liability company; NK
                                        IMMIGRATION SERVICES, LLC, a Texas
                                     18 limited liability company; PATRICK HOGAN,
                                        a Texas resident; and NOREEN HOGAN, a
                                     19 Texas resident,

                                     20
                                                          Defendants.
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                                          ORDER GRANTING UNOPPOSED MOTION FOR ADMINISTRATIVE RELIEF TO EXTEND PAGE LIMIT
                                                               FOR DEFENDANTS’ MOTION TO DISMISS
                                          Case 2:24-cv-01618-DJC-DB Document 30 Filed 06/21/24 Page 2 of 2


                                      1                                         ORDER

                                      2        The Court, having reviewed Defendants’ Unopposed Motion for Administrative

                                      3 Relief to Extend Page Limit for Defendants’ Motion to Dismiss, hereby ORDERS:

                                      4        1.     Defendants’ motion is supported by good cause and is GRANTED.

                                      5        2.     The page limit for Defendants’ memorandum in support of their forthcoming

                                      6 motion to dismiss is extended from 25 pages to 40 pages.

                                      7

                                      8 IT IS SO ORDERED.

                                      9

                                     10 Dated: June 21, 2024                    /s/ Daniel J. Calabretta
                                                                                THE HONORABLE DANIEL J. CALABRETTA
                                     11
                                                                                UNITED STATES DISTRICT JUDGE
2029 Century Park East, Suite 1400
  Los Angeles, CA 90067-2915




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                                          ORDER GRANTING UNOPPOSED MOTION FOR ADMINISTRATIVE RELIEF TO EXTEND PAGE LIMIT
                                                               FOR DEFENDANTS’ MOTION TO DISMISS
